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       VIA ECF

           The Hon. Robert J. Kugler                    Special Master the Hon. Thomas
           United States District Judge                 Vanaskie
           USDJ, District of New Jersey                 Stevens & Lee
           Mitchell H. Cohen Building & U.S.            1500 Market Street, East Tower, 18th
           Courthouse                                   Floor
           4th & Cooper Streets, Room 1050              Philadelphia, PA 19103
           Camden, NJ 08101

       RE: In re Valsartan, Losartan, and Irbesartan Products Liability Litigation, No. 1:19-md-2875-
       RBK-KMW (D.N.J.)

       Dear Judge Kugler and Judge Vanaskie:

               I write on behalf of the Defendants’ Executive Committee to provide Defendants’ position
       with respect to the agenda topics for the conference with the Court on October 27, 2022.
       Defendants do not expect the need to discuss any confidential materials as part of these agenda
       items, but reserve the right to move to a confidential setting should the need arise.

                1. Proposed Briefing Schedule for Motion to Seal

               The parties have been working cooperatively to evaluate their respective confidentiality
       designations of exhibits filed with the class certification briefing and Rule 702 motions on the class
       certification experts. The parties propose that opening briefs be filed on December 2, 2022, with
       response briefs due on December 19, 2022. As discussed at a prior CMC, given the large quantity
       of documents involved, the parties intend to submit briefing only on the documents that remain in
       dispute. Once the Court has issued rulings on the disputed documents, the parties will then file
       public versions of exhibits with stepped-down confidentiality on the docket in addition to new
       versions of any briefs that were previously filed with redactions in accordance with the Court’s
       determination on confidentiality of the underlying documents.
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         2. Losartan/Irbesartan Plaintiff Fact Sheets

         In light of the recent production of core discovery for losartan and irbesartan, Defendants
  have reached out to Plaintiffs to discuss proposed Plaintiff Fact Sheets related to those products
  and sent draft fact sheets to Plaintiffs’ counsel on October 21, 2022. As the parties have yet to
  meet and confer, this issue is not yet ripe, but Defendants hope to be able to present any
  disagreements for resolution at the next biweekly conference call.

         3. Discovery and Case Management Issues for the Third-Party Payor (“TPP”) Trial

          The parties have met and conferred multiple times since the October 6, 2022 Case
  Management Conference (the “October 6 CMC”) to discuss their discovery disputes and related
  case management issues pertaining to the TPP Trial. In accordance with Special Master Vanaskie’s
  orders, the parties have also filed their respective briefs on these issues. (See ECF 2178-1
  (“Defendants’ Brief” or “Defs.’ Br.”); ECF 2181 (“MSPRC’s Br.”).)1 Two issues are before the
  Court: (1) the TPP Defendants’ motion to compel production of documents and data relevant to
  MSPRC’s alleged damages; and (2) the TPP Defendants’ request to set deadlines for damages
  experts for the TPP Trial. Other matters pertaining to the TPP Trial, including MSPRC’s proposed
  responses to TPP Defendants’ other discovery requests and the timing thereof, remain under
  discussion and are reserved.

                  A. Defendants’ Motion To Compel Documents and Data Relevant to MSPRC’s
                     Alleged Damages.

          The TPP Defendants have requested the production of three categories of documents and
  data pertaining to MSPRC’s theory of injury and damages: (1) government subsidy,
  reimbursement, and rebates that MSPRC’s TPP assignors received for valsartan-containing drugs
  (“Disputed Request 2”); (2) materials the TPP assignors submitted in connection with bids
  submitted to the Centers for Medicare & Medicaid Services (“CMS”) (“Disputed Request 3”); and
  (3) internal reports analyzing or reflecting projections and actual spend by the TPP assignors on
  Medicare Part D prescription drugs during the relevant time period (“Disputed Request 4”). The
  parties submitted their briefs regarding this requested discovery on October 20. Defendants argued
  that their requests are both highly relevant to Plaintiff’s theory of injury and damages and
  proportional to the needs of the case. (See generally Defs.’ Br.) In response, MSPRC does not
  appear to object to producing all documents and data responsive to Disputed Request 2.
  Accordingly, MSPRC should be compelled to produce the reports and data responsive to Disputed
  Request 2 for the reasons set forth in Defendants’ Brief. (See Defs.’ Br. at 5-8, 13-17, 19-24.)

          Plaintiff does object to producing documents and data responsive to the other two
  categories of discovery, asserting that: (1) the discovery requests are untimely; (2) the requests are
  irrelevant; and (3) the requests are unduly burdensome and disproportionate to the needs of the
  case. (See generally MSPRC’s Br.) Because the parties filed their briefs simultaneously and it is

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      Capitalized terms in this letter have the same meaning as in Defendants’ Brief.
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  not clear whether there will be any responsive briefing, Defendants believe that a brief response
  in this letter to Plaintiff’s arguments would facilitate resolution of the pending dispute.

          First, Plaintiff argues that Defendants’ requests are untimely because “[g]eneral fact
  discovery closed quite some time ago,” even as Plaintiff acknowledges that this is not “reason
  enough” to refuse the Disputed Requests. (MSPRC’s Br. at 7 (noting that “phase I” closed on June
  1, 2021, and “phase II” ended on October 4, 2021).) Indeed it is not, as the trial-specific fact
  discovery sought now is separate and distinct from the general fact discovery of prior phases. The
  first phase of fact discovery focused on document and deposition discovery of the manufacturer
  defendants, depositions of economic loss and medical monitoring putative class representatives,
  and depositions of personal injury bellwether plaintiffs. (See CMO-23, ECF 863.) The second
  phase focused on document and deposition discovery of the wholesaler and pharmacy defendants.
  (Id.) The limited discovery that the TPP Defendants were permitted to take related to the TPP class
  representatives pertained directly and narrowly to class certification – specifically, whether the
  TPP Plaintiffs’ damages model is susceptible to class treatment. (See ECF 650.)

          Plaintiff nevertheless asserts that the case-specific discovery is untimely by analogizing
  Defendants’ requests to their “First Set of Global Interrogatories and Requests for Production,”
  which the Court disallowed as untimely under Special Master Order No. 23 (ECF 1304). (See
  MSPRC’s Br. at 8.) But that ruling is inapposite. The Disputed Requests are not “global”
  interrogatories or requests to produce – i.e., discovery that is generally applicable across the pool
  of cases in the MDL. Rather, the Disputed Requests seek documents and data specific to a
  particular Plaintiff for use in a single TPP Trial. Indeed, it would have been impossible for the TPP
  Defendants to propound these requests earlier, as the parties and subject matter of the TPP Trial
  were not set until the October 6 CMC.

          The Court previously recognized as much at the August 24, 2022 Case Management
  Conference (“August 24 CMC”), clarifying that it viewed case-specific discovery for the TPP Trial
  as a matter separate from discovery under CMO-23, stating that “specific discovery as to th[e]
  specific plaintiff” ultimately selected for an individual TPP trial would likely be appropriate (Aug.
  24, 2022 CMC Hr’g Tr. 17:9-14 (ECF 2151)), and telling the parties that the Court “ha[s] never
  forced a lawyer to go to trial when they don’t have the discovery they need in a case” (id. 26:14-
  15). In accordance with the Court’s guidance, the TPP Defendants propounded case-specific
  discovery on MSPRC as soon as it was the “specific case” selected for the TPP Trial. Accordingly,
  Plaintiff’s timeliness argument misperceives the nature of the limited TPP discovery conducted in
  the MDL and ignores the Court’s prior statements.

         Second, Plaintiff’s various arguments regarding relevance lack merit. Plaintiff initially
  argues that the requested discovery is irrelevant because “this Court already found ‘that
  contaminated drugs are economically worthless at the point of sale by virtue of . . . their
  contamination.” (MSPRC’s Br. at 11 (quoting ECF 775 at 20 (emphasis added by Plaintiff)).)
  However, Plaintiff fundamentally misreads the Court’s ruling, which merely found that the
  consumer and TPP plaintiffs had “alleged sufficient injury and the lack of the VCDs’ functionality
  at the motion to dismiss stage.” (ECF 775 at 20 (emphasis added).) The Court did not address
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  what an individual TPP Plaintiff would have to prove at trial, much less weigh in on the scope of
  case-specific discovery necessary to refute Plaintiff’s theory of injury and damages at trial.

          Plaintiff next objects that the CMS bids and internal pharmacy-spend projections are
  “aggregated data” and therefore irrelevant to alleged individual “drug-level” losses. (MSPRC’s
  Br. at 12; see also id. (“It is simply impossible to identify drug-level projections . . . from the
  aggregated projections . . . .”).) However, as another court recently recognized in refusing to
  exclude subsidy-related evidence at a TPP trial, whether government payments or data are
  allocable to a specific drug purchase is a matter for the “trier of fact” based on the parties’
  competing expert evidence. In re Namenda Indirect Purchaser Antitrust Litig., No. 1:15-cv-6549
  (CM) (RWL), 2022 U.S. Dist. LEXIS 149561, at *38-39 (S.D.N.Y. Aug. 15, 2022). Although
  Plaintiff contends that In re Namenda is “fully distinguishable” because it involved antitrust claims
  (see MSPRC’s Br. at 11-12), and the statutes in question “limit[ed] recovery to ‘actual damages’
  or ‘actual damages sustained,” In re Namenda, 2022 U.S. Dist. LEXIS 149561, at *37, that
  principle applies with equal force to MSPRC’s state law claims in this case, which are similarly
  limited to recovery of actual damages, see N.Y. Gen. Bus. Law § 349(h). (See also Defs.’ Br. at
  11-13, 15.)2

          Plaintiff also argues that, even if the data could be disaggregated, they would still be
  irrelevant to damages because CMS bids and internal projections have no bearing on the amount
  of damages a TPP actually suffered. (MSPRC’s Br. at 12.) However, the CMS bids and projections
  contain a plethora of data concerning expected versus actual drug payments, which can be used to
  assess whether there was any deviation from MSPRC’s assignors’ estimated drug payments,
  estimated revenue, or estimated return on investment as a result of the withdrawal of the at-issue
  valsartan-containing drugs. In other words, the requested discovery is directly relevant to whether
  the withdrawal of the medications actually caused the assignors any actual damages or losses.
  Although MSPRC appears to suggest that its willingness to produce “aggregated” rebate,
  reimbursement and premium data for Part D prescriptions should suffice (see MSPRC’s Br. at 13),
  Plaintiff should not be allowed to dictate the scope of permissible case-specific discovery for the
  upcoming TPP trial. Rather, the TPP Defendants are entitled to conduct discovery they reasonably
  believe will aid their experts in evaluating Plaintiff’s theory of injury and loss, which will be one
  of the central disputes at any trial.

          Third, MSPRC also argues that the requests are unduly burdensome and not proportional
  because portions of their CMS bids are publicly available, and “[t]he assignors are currently in the
  open-enrollment period for Medicare, which is the busiest time of year for all Medicare Advantage
  plans.” (MSPRC’s Br. at 15-17, 20.) However, whether certain parts of a TPP’s CMS bids are
  publicly available is beside the point because by MSPRC’s own admission, the spend projections
  – which are relevant to its assignors’ alleged losses – are not public. (Id. at 9-10.) As a result,
  limiting the TPP Defendants and their experts to what is publicly available would deny them access
  to information necessary to adequately defend against MSPRC’s theory of injury and damages.

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          MSPRC’s attempt to distinguish In re Namenda also cannot be squared with the TPP Plaintiffs’ attempt to
  analogize their request for class certification to a separate ruling from In re Namenda. (ECF 2174.)
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  MSPRC’s complaint about undue burden should also be rejected because it is nothing more than
  a claim of inconvenience – i.e., that the assignors are too busy to produce information that is
  necessary for the TPP Defendants’ defense. Any such inconvenience can be adequately addressed
  by setting an appropriate timetable for production of the requested materials, which only reinforces
  the need for case management deadlines relating to damages experts.

          Fourth, relying on the declarations of Brandon Riff of EmblemHealth and Tiffanie
  Mrakovich of Summacare, MSPRC argues that the CMS bids and internal reporting sought by
  Disputed Requests 3 and 4 contain “highly proprietary” and confidential information. (See
  MSPRC’s Br. at 17-20 (citing ECF 2181-2, ECF 2181-3).) However, even assuming that the
  requested information does contain sensitive information, the Amended Confidentiality and
  Protective Order (“Protective Order”) (ECF 1661) adequately safeguards that information.
  Although MSPRC asserts that the Protective Order “does not protect against” the disclosure of
  assignors’ sensitive business information to “potential competitors” like CVS Health Corporation
  (MSPRC’s Br. 18), that is exactly what the Protective Order would prevent. In particular, the
  Protective Order not only strictly limits disclosures of “Restricted Confidential”3 information to
  Court personnel, outside counsel, the witnesses who prepared the materials, and experts directly
  involved in the trial, but also prohibits disclosure even to parties outside of those narrow categories.
  (See Protective Order ¶ 25.) CVS is not a party to the TPP Trial, nor is any other pharmacy.
  Accordingly, no competitor would have access to the documents produced in response to Disputed
  Requests 3 and 4, rendering MSPRC’s concerns about confidentiality illusory.

               B. Deadlines for Damages Experts

         The TPP Defendants also ask the Court to set deadlines with respect to damages experts in
  the TPP Trial for the reasons set forth in Defendants’ Brief. (See Defs.’ Br. at 24-26.) MSPRC
  does not dispute the need for deadlines in its brief, much less challenge the particular ones
  proposed by the TPP Defendants. Instead, Plaintiff incorrectly asserts in a footnote that
  “defendants only proposed a schedule for damages experts today” and that Plaintiffs “intend to
  meet and confer with defendants on this issue.” (MSPRC’s Br. at n.1.) In fact, counsel for MSPRC
  and the TPP Defendants have already conferred four times on this issue and are plainly at an
  impasse.

         Counsel for MSPRC and the TPP Defendants met and conferred on October 9, 2022,
  October 12, 2022, October 16, 2022, and October 18, 2022. On each occasion, counsel for the TPP
  Defendants stressed the importance of confirming dates governing damages experts, which would
  impact various other discovery issues under discussion, including MSPRC’s proposed date to
  complete production. The TPP Defendants’ counsel also discussed different potential time frames
  that would likely be acceptable to the TPP Defendants, and on each occasion asked MSPRC’s
  counsel to state their position with respect to damages expert deadlines. However, it was not until

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    “Restricted Confidential” information is defined as “highly confidential commercial, business, financial, or
  competitive information,” including “proprietary” information, and “other information of a highly sensitive nature”
  capable of causing “competitive harm.”
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  October 18, 2022 that MSPRC’s counsel disclosed for the first time that no damages expert
  deadlines should be set until after a ruling on class certification. The TPP Defendants’ counsel
  indicated their strong disagreement with that position, explaining that because the TPP Trial is
  focused exclusively on the individual claims of a single TPP, the sequencing of discovery for that
  trial should in no way turn on any ruling related to class certification.

          Given the parties’ fundamental dispute, the TPP Defendants’ counsel indicated they would
  address this issue in their discovery brief. MSPRC’s counsel did not disagree with this approach;
  they simply asked to be informed in advance what specific schedule the TPP Defendants would
  request in their brief. The TPP Defendants complied with that request by email on the morning of
  October 20, 2022, and also indicated availability to confer further throughout the day if there was
  anything more to discuss on the issue. Receiving no response, the TPP Defendants proceeded to
  brief the issue.

          In short, far from “intend[ing] to meet and confer” on deadlines governing expert damages-
  related discovery, MSPRC effectively seeks to indefinitely postpone resolution of the issue. The
  TPP Defendants seek to set the deadlines necessary to move the TPP Trial forward, and therefore
  ask the Court to set the deadlines requested in Defendants’ Brief.

     4. PFS Deficiencies and Orders to Show Cause

  Cases Addressed at the October 6, 2022 Case Management Conference:

          At the October 6, 2022 Case Management Conference (“CMC”), Defendants requested
  dismissal in the matter of Richard Allen Williams v. Zhejiang Huahai Pharmaceutical Co., Ltd. et
  al., No. 1:20-cv-20602-RBK-SAK, on the basis that no Plaintiff Fact Sheet had been filed. This
  case was previously listed as deficient on the agenda for the July 2022 CMC, and at the August
  CMC an order to show cause was requested, returnable at the following CMC, as to why this case
  should not be dismissed.

          Defense counsel learned that after submission of the parties’ position statements on
  October 4, 2022, Plaintiff Richard Allen Williams requested a 30-day extension of time from the
  Court’s order to show cause. (Williams ECF 25, attached as Exhibit 1.) Defendants note that the
  basis for requesting this extension was not brought to Defendants’ attention at the global meet and
  confer held prior to the October 6, 2022 CMC, and Plaintiffs’ counsel did not oppose dismissal at
  the October 6, 2022 CMC. However, in an abundance of caution, once the Court’s clerk alerted
  defense counsel to Plaintiffs’ extension request, Defendants agreed to continue the request for
  dismissal until the following CMC. (See Williams ECF 26, attached as Exhibit 2.) As of the date
  of this position statement, Plaintiffs still have not submitted a PFS.

        Plaintiff Williams’s PFS was due on July 27, 2022, sixty (60) days after filing of his Short
  Form Complaint. Plaintiff’s stated reason for seeking additional time is as follows:
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          Plaintiff who is a doctor, with assistance of counsel Alvin L. Pittman, is now, and
          has been for the past few weeks, in the process of reviewing the opinions of
          Plaintiffs’ expert witnesses disclosed in the In re Valsartan Products Liability case,
          pursuant to Rule 26 of the Federal Rules of Civil Procedure. (See Declaration of
          Alvin L. Pittman). Plaintiff is also reviewing the studies cited in the medical expert
          opinions. Based on this review, Plaintiff will make the decision whether to continue
          prosecuting his claims, file his Plaintiff’s Fact Sheet or will voluntarily dismiss his
          action.

  (Williams ECF 25 at 1-2.)

          Plaintiff has now had five months since filing his Short Form Complaint to file a PFS.
  Defendants have uniformly granted extensions of time for Plaintiffs to obtain and complete
  production of materials associated with a PFS, so long as those requests are accompanied by
  assurance of counsel that such records will be forthcoming. However, Plaintiff’s continued
  ambivalence about prosecuting this action and complying with the deadlines and process
  established by CMO-16 is not a valid basis for opposing the order to show cause. Accordingly,
  Defendants oppose the request for an extension of time and move for dismissal of Plaintiffs’
  complaint and counts with prejudice. (See Williams ECF 24, attached as Exhibit 3.) Defense
  counsel will be prepared to address this matter in further detail at the case management conference,
  to the extent necessary.

         In addition to the Williams matter addressed separately above, the Court issued 6 show
  cause orders returnable at the October 27, 2022 Case Management Conference:

     1.   Benita King v. ZHP, et al. – 22-cv-1628
     2.   Carrie Collins v. Aurobindo, et al. – 19-cv-16386
     3.   Elie Greene v. Aurobindo, et al. – 21-cv-3214
     4.   Jim Smith v. ZHP, et al. – 22-cv-01245
     5.   Eric Thompson v. ZHP, et al. – 21-cv-19973
     6.   Estate of Bernhardt v. Walgreens, et al. – 22-cv-4330

         The issues in the King and Collins matters are resolved, and the show cause orders may be
  withdrawn.

        The issues in the Greene, Smith, Thompson, and Bernhardt matters remain unresolved, and
  Defendants request their dismissals.

  Second Listing Cases – Order to Show Cause Requested:

          Pursuant to CMO-16, the Plaintiff Fact Sheets in the below cases are substantially
  incomplete and contain core deficiencies. Each of these cases was previously listed on the agenda
  for a prior CMC. This list was provided to Plaintiffs’ leadership on October 18, 2022, and a global
  meet and confer was held on October 21, 2022. Defendants have also been available for further
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       discussion as needed. Accordingly, Defendants request that an Order to Show Cause be entered in
       each of these cases, returnable at the next case management conference, as to why these cases
       should not be dismissed.

               Defense counsel will be prepared to address the individual issues with respect to each of
       these cases, to the extent necessary, during the October 27, 2022, Case Management Conference:


           Plaintiff         Civil              Law Firm             Deficiencies                    Deficiency
                            Action                                                                   Sent
                             No.
1.      Estate of Rita      22-cv-       Parafinczuk Wolf, P.A.        Need authorizations; need     8/17/22
          Chikhi v.          4533                                       clarification of cancer
        Mylan, et al.                                                     diagnosis sections

2.     Yvonne Baker v.      22-cv-       Parafinczuk Wolf, P.A.        Need authorizations; need     8/17/22
            Doe              4532                                       clarification of cancer
                                                                          diagnosis sections

3.     Carl Mirabile v.     22-cv-          Levin Papantonio             Need billing records        9/12/22
         ZHP, et al.         4254

4.      Gracie Ellis v.     22-cv-          Levin Papantonio             Need billing records        9/12/22
         ZHP, et al.         3382

5.     Rose McCarty v.      22-cv-             Nabers Law                Need billing records        9/15/22
         ZHP, et al.         4164

6.     Bobby Yount v.       22-cv-             Nabers Law                Need billing records        9/15/22 -
         ZHP, et al.         4155

7.     Robert Parker v.     22-cv-             Nabers Law                Need billing records        9/15/22
        Hetero, et al.       4155

8.     Howard Engel v.      22-cv-       Parafinczuk Wolf, P.A.       Missing medical records for    9/2/22
       Aurobindo, et al.     4536                                      all but one provider; lot
                                                                            numbers cut off
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9.     Genita Johnson       20-cv-         Law Offices of Alvin                No PFS Filed             9/22/22
        v. ZHP, et al.      20602               Pittman

10.     Anthony Long        21-cv-           Carlson Law Firm                  No PFS Filed             9/27/22
        v. ZHP, et al.      13189



       First Listing Cases – Remaining Core Deficiencies:

               The following Plaintiff Fact Sheets contain core deficiencies which remain unresolved.
       This list was provided to Plaintiffs’ leadership on October 18, 2022, and a global meet and confer
       was held on October 21, 2022. Defendants have also been available for further discussion as
       needed. This is the first time these cases have been listed on this agenda. Accordingly, Defendants
       are not requesting orders to show cause with respect to any of the below cases at this time and will
       continue to meet and confer to resolve these deficiencies.


           Plaintiff         Civil               Law Firm              Deficiencies                     Deficiency
                            Action                                                                      Sent
                             No.
1.     Clifford Conley      22-cv-           Nabers Law Firm              Witness line of health        9/11/2022
                             3323                                        insurance authorizations
                                                                       blank; Need medical records
                                                                        of cancer diagnoses; need
                                                                            medical expenses

2.      Harold Mabry        22-cv-           Levin Papantonio           Need pharmacy records for       9/28/2022
                             4481                                       NDC code 00937-809-56;
                                                                         Need medical expenses

3.         Dennis           22-cv-             Fleming Nolen              Authorizations must be        10/7/2022
        Macabuhay v.         4816                                         undated; Need medical
       Aurobindo, et al.                                                        expenses

4.     Estate of Daniel     22-cv-           Levin Papantonio             Need medical expenses         10/7/2022
       Kwoka v. ZHP,         4309
             et al.
5.     Estate of Eloise     22-cv-             Fleming Nolen              Need medical expenses         10/10/2022
       Allen v. ZHP, et      4935
              al.
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6.     Carrie Collins v.   19-cv-          Haffner Law            Need medical records; need      10/12/2022
        Prinston, et al.   16386                                   pharmacy records; Cancer
                                                                  diagnosis section of PFS is
                                                                  blank; Need billing records;
                                                                    Insurance authorization
                                                                  signatures are unwitnessed

7.        Maritza          22-cv-        Levin Papantonio          Need medical records and       9/23/2022
         Hernandez          3288                                   medical expense records

8.       Zola Owens        22-cv-        Levin Papantonio           Need medical records,         9/28/2022
                            4312                                   medical expense records,
                                                                     signed declaration

9.      Willie Quarles     22-cv-        Nabers Law Firm         I.C.11 – Still failed to         10/3/2022
        v. Aurobindo        3385                                 provide the specific start
        Pharma, et al.                                           dates for Plaintiff’s usage of
                                                                 both identified Valsartan
                                                                 products in the Amended
                                                                 PFS.

                                                                 I.C.12 – Still failed to
                                                                 provide the specific end
                                                                 dates for Plaintiff’s usage of
                                                                 both identified Valsartan
                                                                 products in the Amended
                                                                 PFS.

                                                                 III.C.5.a – Still failed to
                                                                 respond in the Amended
                                                                 PFS.

                                                                 III.G.c – Still failed to
                                                                 provide the monetary
                                                                 amounts for each of the
                                                                 identified claimed medical
                                                                 expenses in the Amened
                                                                 PFS.

                                                                 V.G.1-V.G.4 – Still failed to
                                                                 provide any information for
                                                                 the identified diagnosed
                                                                 conditions of: cirrhosis and
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                                                       hyperlipidemia in the
                                                       Amended PFS.

                                                       XI.B.2 – Still only three
                                                       pages of medical records
                                                       have been produced. Still
                                                       failed to produce complete
                                                       treatment medical records
                                                       for each identified
                                                       healthcare provider for the
                                                       alleged injuries asserted in
                                                       this lawsuit.

                                                       XI.B.18 – Still no billing
                                                       records produced with the
                                                       Amended PFS.
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10.    Larry Bass v.     22-cv-         Nabers Law Firm        I.C.12 – Still failed to         10/3/2022
      Hetero Drugs, et    4151                                 provide the specific date of
            al.                                                the original diagnosis date
                                                               of Plaintiff’s cancer in the
                                                               Amended PFS.

                                                               III.G.c – Still failed to
                                                               provide the monetary
                                                               amounts for each of the
                                                               identified claimed medical
                                                               expenses in the Amended
                                                               PFS.

                                                               XI.B.2 – Still no Express
                                                               Scripts pharmacy records
                                                               produced. Also, still only
                                                               five pages of medical
                                                               records produced. Still
                                                               failed to produce to
                                                               complete treatment medical
                                                               records for each identified
                                                               healthcare provider for the
                                                               alleged injuries in this
                                                               lawsuit.

                                                               XI.B.18 – Still no billing
                                                               records with the Amended
                                                               PFS.


11.   Ina Roddey v.      22-cv-      Parafinczuk Wolf, P.A.    I.C.8 – Failed to identify the   9/2/2022
      Hetero Labs, et     4540                                 API manufacturer for the
            al.                                                first identified Valsartan
                                                               product (with usage dates of
                                                               8/7/2014-9/21/2015).

                                                               IV.B.1-IV.B.4 – No
                                                               hospitals or treatment
                                                               facilities where Plaintiff
                                                               received treatment are
                                                               identified in the Amended
                                                               PFS. Please amend and
                                                               supplement.
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                                                                XI.A.1 – No health care
                                                                authorization produced for
                                                                River Region Medical
                                                                Center. Please produce a
                                                                properly executed and
                                                                undated health care
                                                                authorization for each of the
                                                                foregoing health care
                                                                provider.

12.    E.O. Candace       22-cv-        Levin Papantonio        No Amended PFS filed            9/28/2022
       King, et al. v.     3856
      Hetero Drugs, et                                          III.G.a-III.G.c – Failed to
            al.                                                 provide any substantive
                                                                responses to the request to
                                                                identify Plaintiff’s claimed
                                                                medical expenses,
                                                                including: the name of the
                                                                healthcare provider for each
                                                                claimed medical expense;
                                                                the date of service for each
                                                                claimed medical expense;
                                                                and the monetary amount of
                                                                each claimed medical
                                                                expense.

                                                                XI.B.18 – No billing records
                                                                produced.


13.   Robert Bailey v.    22-CV-          Nabers Law            No medical expenses;            10/03/2022
          Mylan            01518                                incomplete medical records-
      Laboratories et                                           only reflect a single PCP
            al.                                                 visit following prostate
                                                                biopsy; PFS use time period
                                                                inconsistent with pharmacy
                                                                records

14.   Thomas Amoia         22 -           Nabers Law            No medical expenses;            10/03/2022
        v. Mylan         CV- 02438                              incomplete medical records
      Laboratories et
           al.
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15.   Robert Lewis v.     22 -                 Nabers Law            No medical expenses;          10/03/2022
      Aurobindo, et al. CV- 02524                                    incomplete medical records;
                                                                     pharmacy records lack NDC
                                                                     codes to show use of recall
                                                                     product

16.   Brian Thompson   22 -                    Nabers Law            No medical expenses; no       10/03/2022
       v. Aurobindo  CV- 03438                                       authorizations; incomplete
       Pharma et al.                                                 medical records please see
                                                                     deficiency notice for
                                                                     complete listing

17.   Renne Bishop v.      22 -                Nabers Law            No medical expenses; no       10/03/2022
       MylanLabs, et     CV- 03441                                   authorizations; incomplete
            al.                                                      medical records please see
                                                                     deficiency notice for
                                                                     complete listing

18.   Mona Clark v.        22 -                Nabers Law            No medical expenses;          10/03/2022
      Aurobindo et al.   CV- 03392                                   incomplete pharmacy
                                                                     records-uploaded documents
                                                                     do not have identifying
                                                                     information for Mona Clark

19.       Estate of        22-cv-            Levin Papantonio        No PFS Filed                  10/1/2022
      Charlotte Orrino      4842
       v. ZHP, et al.
20.   Estate of Gale       22-cv-            Levin Papantonio        No PFS Filed                  10/15/2022
      Barber v. ZHP,        5051
          et al.


                                                   Respectfully Submitted,




                                                   Jessica Davidson Miller

      cc: All counsel of record (via ECF)
